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                                                                          L.B.F. 3015.1

                                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Allan Rell                                                                    Case No.: 19-11124
 Phyllis Y Rell                                                                       Chapter 13
                                            Debtor(s)

                                                                           Chapter 13 Plan

    Original

             Amended

Date: July 9, 2019

                                                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                                                     YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                               IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                              MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                                           NOTICE OF MEETING OF CREDITORS.


 Part 1: Bankruptcy Rule 3015.1 Disclosures


                                 Plan contains nonstandard or additional provisions – see Part 9

                                 Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                                 Plan avoids a security interest or lien – see Part 4 and/or Part 9


 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

      § 2(a)(1) Initial Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”)
           Debtor shall pay the Trustee for 60 months; and
           Debtor shall pay the Trustee $       per month for         months.
         Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(a)(2) Amended Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $7,750.00
          The Plan payments by Debtor shall consists of the total amount previously paid ($750.00)
added to the new monthly Plan payments in the amount of $125.00 beginning July 23rd, 2019 and continuing for            56     months.
        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

      § 2(c) Alternative treatment of secured claims:
              None. If “None” is checked, the rest of § 2(c) need not be completed.

                  Sale of real property

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                       Phyllis Y Rell

             See § 7(c) below for detailed description

                Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:



      § 2(e) Estimated Distribution

              A.         Total Priority Claims (Part 3)

                         1. Unpaid attorney’s fees                                           $                             2,255.00

                         2. Unpaid attorney’s cost                                           $                                 0.00

                         3. Other priority claims (e.g., priority taxes)                     $                                 0.00

              B.         Total distribution to cure defaults (§ 4(b))                        $                                 0.00

              C.         Total distribution on secured claims (§§ 4(c) &(d))                 $                                 0.00

              D.         Total distribution on unsecured claims (Part 5)                     $                             4,500.00

                                                                      Subtotal               $                             6,755.00

              E.         Estimated Trustee’s Commission                                      $                                 10%

              F.         Base Amount                                                         $                              7,505.55

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)

             § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                            Type of Priority                     Estimated Amount to be Paid
 Brad J. Sadek                                                       Legal Fees                                                                $2,255.00

             § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                          None. If “None” is checked, the rest of § 3(b) need not be completed or reproduced.



 Part 4: Secured Claims

             § 4(a) ) Secured claims not provided for by the Plan

                            Creditor                                                         Secured Property

                                If checked, debtor will pay the creditor(s) listed below     RE
                            directly in accordance with the contract terms or otherwise by
                            agreement.
                            Liberty Home Equity Solutions, LLC


             § 4(b) Curing Default and Maintaining Payments

                          None. If “None” is checked, the rest of § 4(b) need not be completed or reproduced.



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                       Phyllis Y Rell

          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                          None. If “None” is checked, the rest of § 4(c) need not be completed.
                         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                      (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
              validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

                      (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
              of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                       (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
              be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
              in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
              confirmation.\

                     (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
              corresponding lien.

 Name of Creditor                  Description of                    Allowed Secured       Present Value        Dollar Amount of      Total Amount to be
                                   Secured Property                  Claim                 Interest Rate        Present Value         Paid
                                   and Address, if real                                                         Interest
                                   property




                  § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                          None. If “None” is checked, the rest of § 4(d) need not be completed.

             § 4(e) Surrender

                          None. If “None” is checked, the rest of § 4(e) need not be completed.

             § 4(f) Loan Modification

                  None. If “None” is checked, the rest of § 4(f) need not be completed.

 Part 5:General Unsecured Claims

             § 5(a) Separately classified allowed unsecured non-priority claims

                          None. If “None” is checked, the rest of § 5(a) need not be completed.

             § 5(b) Timely filed unsecured non-priority claims

                           (1) Liquidation Test (check one box)

                                             All Debtor(s) property is claimed as exempt.

                                             Debtor(s) has non-exempt property valued at $4,500.00 for purposes of § 1325(a)(4) and plan provides for
                                             distribution of $6,690.00 to allowed priority and unsecured general creditors.

                           (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                             Pro rata

                                             100%

                                             Other (Describe)

                                                                                       3
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 Part 6: Executory Contracts & Unexpired Leases

                          None. If “None” is checked, the rest of § 6 need not be completed or reproduced.



 Part 7: Other Provisions

             § 7(a) General Principles Applicable to The Plan

             (1) Vesting of Property of the Estate (check one box)

                               Upon confirmation

                               Upon discharge

           (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls over any contrary amounts listed
in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

             § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

             (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

             (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

             § 7(c) Sale of Real Property

                  None. If “None” is checked, the rest of § 7(c) need not be completed.

          (1) Closing for the sale of (the “Real Property”) shall be completed within months of the commencement of this bankruptcy case (the
“Sale Deadline”). Unless otherwise agreed, each secured creditor will be paid the full amount of their secured claims as reflected in § 4.b (1) of the
Plan at the closing (“Closing Date”).

             (2) The Real Property will be marketed for sale in the following manner and on the following terms:


           (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing expenses and all
liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and marketable title to the purchaser. However, nothing in
this Plan shall preclude the Debtor from seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11


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U.S.C. § 363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or in order to convey
insurable title or is otherwise reasonably necessary under the circumstances to implement this Plan.

             (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

             (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:


 Part 8: Order of Distribution

             The order of distribution of Plan payments will be as follows:

             Level 1: Trustee Commissions*
             Level 2: Domestic Support Obligations
             Level 3: Adequate Protection Payments
             Level 4: Debtor’s attorney’s fees
             Level 5: Priority claims, pro rata
             Level 6: Secured claims, pro rata
             Level 7: Specially classified unsecured claims
             Level 8: General unsecured claims
             Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

 Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

           None. If “None” is checked, the rest of § 9 need not be completed.



 Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan.

 Date:       July 9, 2019                                                          /s/ Brad J. Sadek, Esquire
                                                                                   Brad J. Sadek, Esquire
                                                                                   Attorney for Debtor(s)




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                                 PHH Mortgage Services                                                                                                                                                        06/15/2023 02:20:21 PM


                                 Remittance Detail Report

Servicer Name:        ALL                                   Product Type:           ALL                                                 Remit Create Date:        ALL
Investor Name:        ALL                                   Loan Status:            ALL                                                 Remit. Created By:        ALL
                                                                                                                                        Remit. Effective Date:    ALL
Investor Pool:        ALL                                   Loan Sub-Status:        ALL
                                                                                                                                        Ref. Check #:             ALL
Loan Channel:         ALL                                   Remit. Type:            ALL
                                                                                                                                        Remitted By:              ALL
Loan Skey:                                                  Remit. Amount:          ALL                                                 Batch Skey:               ALL
Remit Trans. T                                              Remit Status:           ALL                                                 Mail Room Batch #:        ALL

Loan         Loan #         Loan     Loan Sub-Status        Batch Skey       Transaction Type           Effective    Remit Type         Remit Status              Remit Check Date   Reference   Created By              Create Date
Skey                        Status                                                                      Date                                                     Amount              Check #

  -     -
                                                                                                                                                                   $0.00
Total for                                                   Loan Count: 0                               Remit Transaction(s) Count: 1                              $0.00

Total for                                                   Loan Count: 0                               Remit Transaction(s) Count: 1                              $0.00

Grand Total:                                                Loan Count: 0                               Remit Transaction(s) Count: 1                              $0.00

** No matches found for your selection criteria **
Alerts Included: ALL
Alerts Excluded: NONE

Created By:




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 P.O. Box 24606                                                                                                     Statement Date:       June 01, 2023
 West Palm Beach, FL 33416                                                                                          Month Ending:         May 31, 2023


                                                                      Monthly Statement


       00001
       Phyllis Rell
       537 W RICHARDSON AVE
       LANGHORNE, PA 19047




                                                                    *** THIS IS NOT A BILL ***
Account Information                                                                   *Credit Line Set Aside Information
Pay Plan Type:                Line of Credit                                          Original Credit Line:                                                   $0.00
Funded Date:                  05/28/2014                                              Current Gross Credit Line:                                              $0.00
Loan #:                                                                               Unsch. Credit Line Disb. Bal. (-):                                      $0.00
Borrower:                     Phyllis Rell                                            Net Credit Line Set Aside (=):                                          $0.00
Property:                     537 W RICHARDSON AVE
                              LANGHORNE, PA 19047                                                     * Modified Term or Modified Tenure only

Interest Rates                                                                        Principal Limit Information
ARM Type: Monthly              Rate Index: 1-Month LIBOR                              Original Principal Limit:                                        $140,505.00
Month                        Index      Margin       Int. Rate       (Index+Margin)   Current Principal Limit:                                         $210,898.79
May                          4.831%     2.125%       6.956%                           Loan Balance (-):                                                $216,924.79
June                         5.062%     2.125%       7.187%                           Repair Set Aside (-):                                                   $0.00
July(**)                     5.154%     2.125%       7.279%                           First Year Set Aside (-):                                               $0.00
                                                                                      Credit Line Set Aside (-):                                              $0.00
Your Reverse Mortgage loan has a variable-rate feature; the monthly and daily
periodic rates may vary as a result. Please refer to important information found on   Life Expectancy Set Aside Amt (-):                                      $0.00
the back of this monthly statement and on the additional page.                        Servicing Fee Set Aside (-):                                            $0.00
                                                                                      Net Principal Limit (=):                                          ($6,026.00)
Interest Rate Information
                                                          ANNUAL PERCENTAGE RATE (APR): 8.206%
Loan Periodic Rates:                                 Mortgage Insurance Premium (MIP) Periodic Rates:                       Finance Charge:
Monthly Periodic Rate on                         MIP Monthly Periodic Rate on Applicable Principal                        Periodic
Applicable Principal Balance:             0.580% Balance:                                                          0.104% Finance Charge:                  $1,248.90
Daily Periodic Rate on Applicable                MIP Daily Periodic Rate on Applicable Advances or
Advances or Payments:                     0.019% Payments:                                                         0.003%
Corresponding APR:                        6.956% Corresponding APR:                                                1.250%
** Notice of Changes in your Interest Rate on your Adjustable Rate Reverse Mortgage
On July 01, 2023, the interest rate on your adjustable-rate Reverse Mortgage will increase from 7.187% to 7.279%. Your present interest rate was
based on an index value of 5.062%. To determine your new interest rate, we added the current index value of 5.154% as of May 29, 2023 as
published by the Wall Street Journal, to the agreed upon margin of 2.125% for a total of 7.279%. This new rate has not been rounded to the nearest
1/8th percent. The initial interest rate on your mortgage was 2.274%, which may not be increased beyond 12.274% during the life of the mortgage.




Total Funds Available
Net Credit Line Set Aside + Net Principal Limit =                                                                                                            $0.00



 If you have any questions or would like further information on your reverse mortgage, please call our Customer Service Support Team at the number shown below. They
 are available to assist you Monday - Thursday 8:00 AM to 8:00 PM Eastern Time & Friday 8:00 AM to 7:00 PM Eastern Time.



                                                              P.O. Box 24606, West Palm Beach, FL 33416
Loan Ske                                                  Phone (866) 503-5559 ~ FAX (561) 682-8644 ~ TRS 711
Rep. Ske                                                          Email customerassist@phhreverse.com                                                       Page 1 of 4
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P.O. Box 24606                                                                                                       Statement Date: June 01, 2023
West Palm Beach, FL 33416                                                                                            Month Ending: May 31, 2023


Loan Balance Activity
                                                                                      Current Month                                Year To Date
 Previous Loan Balance:                                                                  $215,451.46                                  $206,834.45
 Loan Advance / Scheduled Payment (if applicable):                                              $0.00                                        $0.00
 Loan Advance / Unscheduled Disbursements (if applicable):                                      $0.00                                        $0.00
 Repair Set Aside Disbursements:                                                                $0.00                                        $0.00
 Taxes Paid:                                                                                    $0.00                                        $0.00
 Insurance Paid:                                                                                $0.00                                    $3,133.00
 Other Property Charges:                                                                        $0.00                                        $0.00
 Interest (Finance Charge):                                                                $1,248.90                                     $5,852.89
 MIP (Finance Charge): paid to HUD:                                                          $224.43                                     $1,104.45
 Monthly Servicing Fee (Finance Charge):                                                        $0.00                                        $0.00
 Change of Plan Fee/Misc. (Finance Charge):                                                     $0.00                                        $0.00
 Repayments (See Transaction Information):                                                      $0.00                                        $0.00
 Total Balance Activity:                                                                   $1,473.33                                    $10,090.34
 Closing Loan Balance as of May 31, 2023:                                                $216,924.79                                  $216,924.79
 * Corporate Advance (not part of Loan Balance):                                                $0.00                                        $0.00

Transaction Information
Transaction Effective       Transaction Description                       Principal        Interest            MIP     Servicing   Cumulative       *Corporate
Date        Date                                                         Advances                                            Fee         Loan     Advance (not
                                                                                                                                 Advances this    part of Loan
                                                                                                                                        Month         Balance)
5/31/2023      5/31/2023    Monthly Interest, MIP Accrual & SF                $0.00      $1,248.90       $224.43           $0.00     $1,473.33            $0.00
Grand Total:                                                                  $0.00      $1,248.90       $224.43           $0.00     $1,473.33           $0.00




(Int) Interest - (MIP) Mortgage Insurance Premium - (SF) Servicing Fee - (Disb) Advance Disbursement - (Part Repay) Partial Repayment




                                                             P.O. Box 24606, West Palm Beach, FL 33416
Loan Sk                                                  Phone (866) 503-5559 ~ FAX (561) 682-8644 ~ TRS 711
Rep. Ske                                                         Email customerassist@phhreverse.com                                                 Page 2 of 4
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 P.O. Box 24606                                                                                                              Statement Date: June 01, 2023
 West Palm Beach, FL 33416                                                                                                   Month Ending: May 31, 2023



A. ANNUAL PERCENTAGE RATE (APR)
The ANNUAL PERCENTAGE RATE for the interest portion of your FINANCE CHARGE may increase or decrease annually based upon changes in the ("Index").
Therefore, the monthly and daily periodic rates relating to the interest portion of your FINANCE CHARGE may vary. To determine the ANNUAL PERCENTAGE RATE that
will apply to your Account, we add a margin to the value of the Index, subject to certain rate limitations as provided in your Reverse Mortgage Note.

The corresponding annual percentage rate for the interest portion of the FINANCE CHARGE does not include costs other than interest. The historical ANNUAL
PERCENTAGE RATE includes interest and all other FINANCE CHARGES that relate to your loan.

B. FINANCE CHARGES
Each advance or payment made to you or on your behalf under your Reverse Mortgage will be subject to a FINANCE CHARGE beginning on the day after each advance or
payment is made. A FINANCE CHARGE will continue to be assessed on your Reverse Mortgage until the entire outstanding balance and all fees due under the Notes,
Security Instruments and Loan Agreement are paid.

C. INTEREST
The interest portion of the FINANCE CHARGE on your Account is computed by (i) calculating the FINANCE CHARGE on the balance existing at the beginning of each
month, which includes any payments or credits applied to your loan during the previous month, (ii) calculating the FINANCE CHARGE on each advance, payment or credit
made to you or on your behalf during the month, and then (iii) adding all of these sums together, as follows:

We start with the outstanding principal balance on your Account at the beginning of each month, which includes FINANCE CHARGES from the previous month (the
"Previous Loan Balance"). At the end of each month, we multiply the Previous Loan Balance by he then-current ANNUAL PERCENTAGE RATE divided by 12 ( he "Monthly
Periodic Rate").

At the end of each month in which any advances (also known as disbursements and labeled as "Disb" on his statement) or payments have been made to you or on your
behalf, we multiply the amount of the advance or payment by the number of days remaining in the month after that advance or payment was made (not including the day the
advance was made) and then multiply this amount by the then-current ANNUAL PERCENTAGE RATE divided by 365 (the "Daily Periodic Rate"). This calculation is
repeated for each advance or payment made to you or on your behalf during the month.

The sum of the final result of these calculations equals the interest portion of your FINANCE CHARGE for the month.

D. MORTGAGE INSURANCE PREMIUMS (MIP)
In addition, mortgage insurance premiums ("MIP"), which are a FINANCE CHARGE, are computed by as follows:

At the end of each month, we multiply the lesser of the Previous Loan Balance or the maximum balance on which HUD requires MIP to be paid to it by your MIP rate divided
by 12 (the "MIP Monthly Period Rate"). At the end of each month in which any advances (also known as disbursements and labeled as "Disb" on this statement) or
payments have been made to you or on your behalf, we multiply the amount of the advance or payment (other than any advance or payment that exceeds the maximum
advances or payments on which HUD requires MIP to be paid) by the number of days remaining in the month after that advance or payment was made (not including the day
the advance was made), and then multiply this amount by your MIP rate divided by 365 (the "MIP Daily Periodic Rate"). This calculation is repeated for each advance or
payment made to you or on your behalf during the month.

The sum of the final result of these calculations equals the mortgage insurance portion of your FINANCE CHARGE for the month.

E. CALCULATION OF BALANCES
The "Principal Limit Informa ion" section on the front of he monthly statement shows your "Original Principal Limit" and your "Net Principal Limit" which includes any "Set
Asides". The "Loan Balance" section on page 2 of this monthly statement shows your prior month's Previous Loan Balance and your current month's Closing Loan Balance,
which includes the current month's activity. If you would like to determine your payoff balance or if you have any questions on this monthly statement, please call the
telephone number listed on the bottom of this monthly statement.

F. OTHER INFORMATION
We compute the interest and other fees assessed on your loan monthly. This information is available on page 2 of this monthly statement each mon h. This monthly
statement indicates both the current month and year to date interest and other fees. If you repay all or a portion of your loan balance and the annual interest paid due to a
repayment exceeds $600, a separate IRS Form 1098 will be mailed to you by January 31st. Interest accrued on this loan, other than repayments, will not be reported to the
IRS until the loan is paid in full.

G. BILLING RIGHTS SUMMARY
In case of errors or questions about your loan monthly statement, you will need to contact us as follows:

If you think your monthly statement is wrong or you need more information about a transaction on your monthly statement, write us at Reverse Mortgage Service Center,
Attn: Billing Department, P.O. Box 24606, West Palm Beach, FL 33416. Write to us as soon as possible. We must hear from you no later than 60 days after we send you
the FIRST monthly statement on which the error or problem appeared. You can telephone us, but doing so will not preserve your rights. In your letter, give us the following
information:
     1. Your name and loan number
     2. The dollar amount of the suspected error
     3. Describe the suspected error and explain, if you can, why you believe there is an error




                                                               P.O. Box 24606, West Palm Beach, FL 33416
Loan                                                       Phone (866) 503-5559 ~ FAX (561) 682-8644 ~ TRS 711
Rep. S                                                             Email customerassist@phhreverse.com                                                             Page 3 of 4
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P.O. Box 24606                                                                                                             Statement Date: June 01, 2023
West Palm Beach, FL 33416                                                                                                  Month Ending: May 31, 2023


We will acknowledge your letter within 30 days. Within 90 days, we will either correct the error or explain why we believe the monthly statement was correct. If we determine
the monthly statement was not correct, we will credit the disputed amount along with any associated interest charges. While under investigation, you will continue to see the
disputed amount on your monthly statement; however, you do not have to pay any disputed amount or the interest charges that apply to it. Even though payments are not
required on a reverse mortgage, by law, you are still required to meet all obligations as outlined in your Notes, Security Instruments and Loan Agreement. This includes
paying your property taxes and insurance premiums.



H. CREDIT INFORMATION
Regular monthly installment payments are not required on this loan unless you have a repayment plan for a delinquent account. However, you have the obligation to pay
your property taxes and insurance premiums. The loan must be repaid in full in one payment if your loan has been called "Due and Payable". Payments may be made by
check, money order or wired funds, payable in U.S. Dollars. Do not send cash. Payments must be mailed to the address listed on the bottom of this monthly statement.
Payments are allocated as described in your Note.




                                                              P.O. Box 24606, West Palm Beach, FL 33416
Loan Sk                                                   Phone (866) 503-5559 ~ FAX (561) 682-8644 ~ TRS 711
Rep. Sk                                                           Email customerassist@phhreverse.com                                                            Page 4 of 4
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                                            Exhibit Page 55 of 57

                        Internal Payoff Statement                                                               Data Update Date: 6/14/2023


   Loan Skey:
   Loan Number:
   Borrower Last Name:                              Rell
   Property Address                                 537 W RICHARDSON AVE, LANGHORNE, PA 19047
   As of Date:                                                                                                                06/15/2023
   Good through Date:                                                                                                         06/15/2023



   Principal Advances:                                                                                                      $ 142,152.16


   Interest:                                                                                                                 $ 49,732.51


   Interest Rate Type                               Monthly (1-Mth LIBOR)



   Current Interest Rate                            7.19


   MIP:                                                                                                                      $ 25,040.12


   MIP Rate                                         1.25


   Servicing Fees:                                                                                                                 $ 0.00


   Corporate Advances:                                                                                                             $ 0.00


   Intra Month Per Diem Total:                                                                                                  $ 752.13


   Total Amount Due:                                                                                                        $ 217,676.92




   Per Diem Post Good Through Date**                                                                                               50.34

*NOTE: this is a not an external payoff and should not be relied upon if the loan is to be paid in full

**per diem is as of the date generated. Any advances incurred between the as of date and the good through date will increase per diem and will not be included
here.
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